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ERIC A. LIEPINS
ERIC A. LIEPINS, P.C.
12770 Coit Road
Suite 850
Dallas, Texas 75251
(972) 991-5591
(972) 991-5788 - telecopier

PROPOSED ATTORNEY FOR DEBTOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE                                        §
                                             §
LS MOTORCARS, LLC                            §               CASE NO. 21-40441-11
                                             §
        DEBTOR                               §




              DEBTOR’S STATUS REPORT PURSUANT TO 11 U.S.C. § 1188

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:


        COMES NOW, LS Motorcars, LLC., Debtor in the above styled and numbered cause,

and files this its Status Report Pursuant t o11 U.S.C. § 1188 (“Report”) and in support thereof

would respectfully show unto the Court as follows:

        1.     On or about March 26, 2021 Debtor filed its Voluntary Petition for relief under

Chapter 11 of the United States Bankruptcy Code (“Code”).

        2.     The Debtor elected to proceed under Sub-Chapter V of the Code.

        3.     Pursuant to 11 U.S.C. § 1188 (c) the Debtor files this its Status Report.

        4.     At the time of filing, the Debtor has the following debts:

               Secured claims
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         Small Business Administration for $150,000

         Next Gear Capital for approximately $185,000

         Primalend for approximately $462,000

         Priority claims

         Texas Workforce Commission for $29,000

         Dallas County for approximately $39,000

         Unsecured claims

         The Debtor has approximately $2,600,000 to 9 unsecured creditors, with one

         creditor making up about 65% of the total.

    5.   The Debtor’s business consists of the sale of used cars.

    6.   The bankruptcy was filed as a result of a slow down in the used car market during

         the pandemic. Along with a judgment creditor who was aggressively seeking

         collection and threatening the Debtor.

    7.   Under the Debtor’s operation it use floor planners to finance part of its operations.

         Under the normal terms, the Debtor would purchase a car financed by a floor

         planner and upon the sale of the vehicle the Debtor would pay the floor planner

         who would in turn deliver the title to the vehicle to the Debtor to be transferred to

         the purchaser.

    8.   One of the Debtor’s floor planners was Primalend. Primalend is now Good Floor

         Loans (“Good”) . In the course of operations, there were times when the Debtor

         sold a vehicle floor planned by Good and although Good delivered the title to the

         vehicle which the Debtor then delivered to the purchaser, the Debtor had not paid

         Good for that vehicle.
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    9.    It is the Debtor’s position that in October 2020, the Debtor and Good met and the

          Debtor and Good resolved any shortfall by the Debtor providing Good with

          additional collateral. Good disagrees with this position.

    10.   The Debtor is in the process of reviewed all transactions with Good and believes

          that no monies are owed to Good which are not covered by the vehicles floor

          planned by Good which remain on the Debtor lot.

    11.   The Debtor floor planned certain vehicles with Next Gear Finance. The Debtor

          believes all vehicles floor planned by Next Gear are accounted for and Next Gear

          and the Debtor continue to operate.

    12.   The Debtor obtained certain monies to Texas Security Bank. It appears certain

          vehicles were placed with Texas Security Bank as collateral for the loan. Those

          vehicle were apparently sold pre-bankruptcy and any proceeds were not paid to

          Texas Security Bank.

    13.   The Debtor also obtained a economic disaster loan from the Small Business

          Administration secured by any assets of the Debtor.

    14.   After the filing of the case, the Debtor entered into agreements with its secured

          creditors to continue operations. The Debtor and Good currently do not agree on

          the amount owed to Good and the collateral which secures any amount.

    15.   The Debtor has begun operating with DAX Auto Auction which is providing the

          Debtor with cars to be sold.

    16.   It is the Debtor’s intention to complete its current floor plan arrangements with

          Next Gear and Good. Thereafter, the Debtor will not use floor plan financing but

          instead will either continue the arrangement with DAX or use its own funds to
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          purchase new inventory.

    17.   The Debtor’s current assets consist of approximately 65 vehicles only

          approximately 4 are not subject to the current lien claims of Next Gear, Good or

          DAX.

    18.   Once it is determined what amount, if any, the Debtor owes to Good, it is the

          Debtor’s plan to continue to operate and use the proceeds from the operations to

          make payments to the creditors.

    19.   The Debtor shall pay any amounts owed to secured creditors and priority creditors

          and then dedicate all excess proceeds to the unsecured creditors.

    20.   The Debtor at the present time does not have a complete determination of the

          amounts owed to the secured creditors in order to project the possible dividend to

          unsecured creditors.

    21.   It is the Debtor’s intention to timely file its Plan of Reorganization and believes

          that the plan will repay the secured creditors in full and provide a dividend to the

          unsecured creditors.



                                         Respectfully submitted,



                                         ERIC A. LIEPINS, P.C.
                                         12770 Coit Road, Suite 850
                                         Dallas, Texas 75251
                                         (972) 991-5591
                                         (972) 991-5788 - fax


                                         BY: /s/ Eric Liepins_____
                                                 ERIC A. LIEPINS, SBN 12338110
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was sent to all
creditors and the Subchapter V Trustee, the United States Trustee via mail on this the 27th day
of April 2021.

                                            __/s/ Eric Liepins______
                                            Eric A. Liepins
